Case 2:10-cv-13089-GCS-MAR ECF No. 217, PageID.2711 Filed 12/21/11 Page 1 of 12
Case 2:10-cv-13089-GCS-MAR ECF No. 217, PageID.2712 Filed 12/21/11 Page 2 of 12
Case 2:10-cv-13089-GCS-MAR ECF No. 217, PageID.2713 Filed 12/21/11 Page 3 of 12
Case 2:10-cv-13089-GCS-MAR ECF No. 217, PageID.2714 Filed 12/21/11 Page 4 of 12
Case 2:10-cv-13089-GCS-MAR ECF No. 217, PageID.2715 Filed 12/21/11 Page 5 of 12
Case 2:10-cv-13089-GCS-MAR ECF No. 217, PageID.2716 Filed 12/21/11 Page 6 of 12
Case 2:10-cv-13089-GCS-MAR ECF No. 217, PageID.2717 Filed 12/21/11 Page 7 of 12
Case 2:10-cv-13089-GCS-MAR ECF No. 217, PageID.2718 Filed 12/21/11 Page 8 of 12
Case 2:10-cv-13089-GCS-MAR ECF No. 217, PageID.2719 Filed 12/21/11 Page 9 of 12
Case 2:10-cv-13089-GCS-MAR ECF No. 217, PageID.2720 Filed 12/21/11 Page 10 of 12
Case 2:10-cv-13089-GCS-MAR ECF No. 217, PageID.2721 Filed 12/21/11 Page 11 of 12
Case 2:10-cv-13089-GCS-MAR ECF No. 217, PageID.2722 Filed 12/21/11 Page 12 of 12
